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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                         Plaintiff,                 )                       4:10CR3054
                                                    )
                v.                                  )
                                                    )
BANS TSANH TRUONG,                                  )           MEMORANDUM AND ORDER
                                                    )
                         Defendants.                )

        On October 21, 2010, the court held an in-chambers conference with defendant’s retained counsel,
Theodore W. Vrana; defendant’s standby counsel, Joel G. Lonowski; and the government’s counsel,
Janice Lipovsky. The purpose of the conference was to determine how this case should proceed following
the defendant’s change of plea hearing, which began on October 6, 2010 but was then suspended pending
appointment and consultation with standby counsel.


        As of the time of the conference, Mr. Lonowski had conferred with Mr. Vrana and received a copy
of the defendant’s file, but had not yet fully reviewed the file or met with the defendant. Eight CDs of Rule
16 evidence disclosed by the government, but no printed versions of the evidence, were within the file
received from Mr. Vrana.


        In response to the court’s questioning, Mr. Vrana acknowledged he had not reviewed all the
government’s evidence, but stated the Vietnamese interpreter he employs did review and report to Mr.
Vrana regarding the evidence. The interpreter is not a lawyer. No pretrial motions were filed in this case.
Mr. Vrana relied on his review of some of the evidence, the interpreter’s review of the evidence, and his
client’s statements in deciding not to file pretrial motions and that a guilty plea, rather than a trial, was
appropriate. Mr. Vrana was unable to explain the terms of the defendant’s plea agreement, and
acknowledged he did not advise the defendant of the potential deportation consequences of pleading guilty
to the pending felony charges.
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        Mr. Vrana has not moved to withdraw and does not wish to withdraw from this case. The
defendant has not asked Mr. Vrana to withdraw and has not requested new or appointed counsel.
However, based on Mr. Vrana’s statements, the court finds all phases of defendant’s case preparation
should be repeated. Mr. Lonowski was instructed to review the entire file, including all evidence within the
file, and prepare this case. Ms. Lipovsky offered and agreed to work directly with Mr. Lonowski to assure
he had all records relevant to this case


        Accordingly,

        IT IS ORDERED:

        1)      Mr. Lonowski is hereby appointed as primary counsel for the defendant. An attorney-
                client relationship exists between the defendant and both his attorneys, Mr. Vrana and Mr.
                Lonowski, for the purposes of determining if communications are privileged.

        2)      Mr. Lonowski and Ms. Lipovsky may exchange information and discuss the defendant’s
                case outside Mr. Vrana’s presence and without including Mr. Vrana in the
                communications.

        3)      Mr. Lonowski may meet and communicate with the defendant outside Mr. Vrana’s
                presence and without including Mr. Vrana in the communications.

        4)      Mr. Vrana remains defendant’s retained counsel and, to the extent his assistance is needed,
                shall fully cooperate with Mr. Lonowski’s introduction to the defendant, case preparation,
                review of the file and case history, and representation of the defendant.

        5)      Mr. Lonowski is given until November 22, 2010 to review the discovery in this case and,
                as appropriate, file pretrial motions on defendant’s behalf.

        6)      A status conference will be held on November 23, 2010 at 1:00 p.m. in the chambers of
                the undersigned magistrate judge to discuss how the parties intend to proceed with this
                case. Mr. Lonowski, Mr. Vrana, and counsel for the government shall be present at this
                conference.

        7)      The ends of justice will be served by allowing the defendant additional time for case
                preparation and investigation, and the justice served by granting this extension of time
                outweighs the interests of the public and the defendant in a speedy trial. Accordingly, the
                time between the defendant’s previous plea hearing, October 6, 2010 and November 23,

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          2010, shall be deemed excluded time in any computation of time under the requirements
          of the Speedy Trial Act, for the reason that the parties require additional time to adequately
          prepare the case, taking into consideration the due diligence of counsel, the novelty and
          complexity of the case, and the fact that the failure to grant additional time might result in
          a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

          DATED this 21st day of October, 2010.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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